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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CRYSTAL BROWN, SARAN CRAYTON,                      )
 SAMANTHA SLONIM, CELESTE                           )
 ADDYMAN, ERIKA KNIERIM and JULIE                   )
 HULL, et al., on Behalf of Themselves and a        )
 Class of Similarly Situated Persons,               )    Case No. 17-cv-8085
                                                    )
                           Plaintiffs,              )   Judge Matthew Kennelly
                                                    )
 COOK COUNTY; AMY CAMPANELLI, in                    )
 her capacity as Public Defender of Cook            )
 County; and THOMAS DART, in his official           )
 capacity as Sheriff of Cook County,                )
                                                    )
                         Defendants.                )

PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       The Class Representatives, Crystal Brown, Saran Crayton, Samantha Slonim, Celeste

Addyman, Erika Knierim, and Julie Hull, and Class Counsel, Robin Potter and M. Nieves

Bolaños, bring this Motion to request final approval of the class action settlement reached by the

parties in this action. As set forth in the memorandum of law filed herewith, the settlement

should be approved because it is fair, reasonable and adequate within the meaning of

Fed.R.Civ.P. 23(e).

                                                     Respectfully submitted,

                                                     /s/ Robin Potter and M. Nieves Bolanos
                                                     Class Counsel

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT was

served upon all parties by e-filing this 11th day of September, 2020 with the Clerk of the Court

using the CM/ECF system.




                                                    /s/ Robin Potter
                                                     One of Plaintiffs’ Attorneys
